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JRS/DR/SMS
F. #2021R00129

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA

       - against -                               Docket No. 20-CR-293 (S-1) (WFK)

 OLUWAGBENGA AGORO, et al.,

                           Defendants.

 – – – – – – – – – – – – – – – – – –X




    GOVERNMENT’S MOTIONS IN LIMINE AND MEMORANDUM IN SUPPORT




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                                 PRELIMINARY STATEMENT

        The twenty-count superseding indictment in this case arises out of a series of

 shootings committed by the defendants as part of their participation in the Folk Nation

 Gangster Disciples (“GD” or the “enterprise”), a violent street gang. In advance of trial,

 which is scheduled to begin on October 17, 2022, the government respectfully moves in

 limine regarding: (1) the proposed admission of certain uncharged crimes and other acts,

 (2) consolidation of case numbers 20-CR-293 (charging the shootings) and 21-CR-166

 (charging defendant Oluwagbenga Agoro’s use of force in furtherance of extortion), (4) the

 cross-examination of certain defendants on their criminal history should they testify at trial,

 (5) the anonymity of the jury, and (6) the admissibility of evidence pursuant to business

 records certifications.

                                         BACKGROUND

 I.     GD and No Love City

                GD is a nation-wide criminal enterprise that operates through locally based

 subgroups or “sets.” No Love City, or “NLC,” is a set of GD based in Flatbush, Brooklyn,

 primarily in the area of Newkirk Avenue and Flatbush Avenue. Members and associates of

 NLC use shared symbols of GD and NLC, including black hearts, black bandannas, a three-

 pronged pitchfork (also known as the “rake”), the number “74” (representing “G,” the

 seventh letter of the alphabet and “D,” the fourth letter), a six-pointed star and a spiral (also

 known as a “twirl”). Members and associates of NLC also commonly use nicknames ending

 in “Flocks” or “Floxks.”

                Since at least 2014, NLC has been engaged in numerous acts of attempted

 murder, drug trafficking, trafficking in counterfeit currency, fraud, firearm possession and
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 other crimes. All members and associates of GD and NLC are expected to use violence on

 behalf of the gang. Using violence increases one’s status in the gang and failing to use

 violence results in a loss of status.

                Between 2014 and 2016, NLC was involved in a gang war with rival gang

 members set off by the murder of NLC-member Malik Bhola, also known as “Rexk” or

 “Rexkless.” During this period, members and associates of NLC commonly drove in

 multiple cars to rival gang territory to engage in drive-by shootings. Ultimately, over a

 dozen members and associates of NLC were indicted in state court for conspiracy to commit

 murder — including, as relevant here, defendant Jean Fremont and former defendant

 Christian Williams and NLC members Paolo Alfarobarber, Dens Marcellus, Javanni Moise

 and Kwyme Waddell — and were imprisoned for periods of time ranging from a few years to

 more serious sentences.

                As members of NLC were released from prison, the gang continued

 committing violence, including numerous shootings. These shootings often targeted areas,

 not individuals. For example, in summer 2020, defendant Lorenzo Bailey ordered younger

 members of the gang to shoot someone in rival gang territory as retaliation for a shooting of

 a member of NLC. Bailey and younger members drove to rival territory and one of the

 younger members shot a random individual without knowing (or caring) whether this

 individual was, in fact, a rival gang member. When members of the gang questioned the

 wisdom of these tactics, they were chastised by gang leaders.

                In 2021, for example, in a Telegram conversation, a gang member stated, “I

 just want n**gas to be smart and not just hitting random people.” Defendant Fremont

 responded, “You worried bout the wrong things,” and “That spot is owned by woos,” a rival
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 gang. GD member Alfarobarber added, “Listen we not about to do this new shyt where we

 checking to see if they there or not bro they going get the message either way or the other.”

 Later in the conversation, Fremont stated, “You think when rexk [i.e., Malik Bhola] died we

 cared who got hit it don’t matter who gets hit thinking like that is what got n**gas looking

 soft right now.”

 II.    NLC’s Hierarchy

               The highest ranking member of NLC is Ronald Britton (known as “Cam”)

 who was imprisoned at Fort Dix on a federal robbery conviction for all periods relevant to

 this case. While incarcerated, Britton kept in close communication with members of the

 gang through a contraband phone hidden in his cell. That phone was found, seized and

 searched in 2021.

               In one conversation found on Britton’s phone, Britton provided rules and a

 hierarchy for the gang. Defendants Destine (known as “YL”) and Fremont (known as

 “Juno”) were appointed to the gang’s five-person steering committee, along with Moise

 (known as “Bills”) and Alfarobarber (known as “Paolo” or “Chico”). Britton appointed

 defendant Bailey (known as “Renzo”) as the “Chief of Security,” responsible both for

 policing violations of the gang’s internal rules and for retaliating against rival gang members,

 and appointed defendant Thompson (known as “Benzo” or “D Benzo”) as the Assistant

 Chief of Security. A copy of handwritten instructions containing these appointments sent by

 Britton to Destine is shown below.




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               Britton also sent Destine an overall hierarchy of the gang, dividing gang

 members into “Lines,” with a group of leaders in charge of each line. For example, Waddell,

 known as “K” — who was then still in state prison — was in charge of the “Big Gun” line,

 with Destine (YL), as his second-in-command. A copy of this hierarchy is shown below.




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 III.   The March 14, 2020 Shooting

              On March 14, 2020, several members of GD and NLC were together at a bar,

 including defendant Brown, former-defendant Christian Williams, defendant Fremont and

 former-defendant Triston Lawrence. An argument broke out between a member of the Crips




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 (a rival gang) and a member of NLC, during which the Crip made a hand gesture

 disrespectful to GD, known as “dropping the rake.”

               This argument was particularly problematic for Brown. Brown was a former

 Crip himself and friend of the Crip involved in the argument. Although he had left the Crips

 to join NLC, he was sometimes viewed with suspicion by fellow GD members and often had

 to defend his decision to switch gangs and prove his loyalty to GD. For example, on

 May 17, 2020, Brown posted on Facebook: “EVERYBODY BE ON MY DICK ABOUT

 BEING #GD . . . WHAT ABOUT U CRIPS THAT TURN BLOOD OR JUST DONT

 JACK YALL SHIT IN JAIL PERIOD AND THEN U GOT THE BLOOD NIKKAS THAT

 STAY BLOOD JUST BEEN LIKE 4 DIFFERENT HOODS                         LET ME BE GREAT

 SHEESH . . . I NEVER BEEN NO SUCKER ALWAYS JACKED MY SHIT AND I LET

 MY NUTS DRAG EVERYWHERE I GO . . . JUST A FRIENDLY REMINDER                             ”.

 Similarly, on December 27, 2019, Brown posted on Facebook: “STOP SAYING I USED TO

 BE CRIP     THAT SHIT DONT BOTHER ME . . . IM ON THE SAME SHIT AND WITH

 THE SAME NIKKAS I BEEN WITH               ”.

               Although Brown initially stayed out of the fight in the bar, he ultimately had to

 pick a side. As captured on surveillance video, after the fight spilled outside of the bar,

 Brown took out a firearm and fired it into the air. As the fight continued, he conferred with

 Christian Williams before handing Williams the gun. Williams then approached the Crip and

 shot him once in the buttocks before fleeing and throwing the gun. Both Brown’s and

 Williams’s DNA was found on the firearm after it was recovered.




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 IV.    The November 2020 Shootings

               All defendants except Brown are charged with a series of shootings committed

 on November 7 and November 9, 2020. As set forth below, these shootings were all

 intended as retaliation for rival gangs stealing a chain from defendant Fremont.

        A.     The Theft of the SPMB Chain

               The most publicly prominent member of NLC is Moise, who raps under the

 stage name “SPMB Bills.” “SPMB,” which stands for “Stay Paid Money Burners,” is a

 group largely consisting of members of NLC. Because of Moise’s high profile, he is a

 frequent target of criticism and attacks by rival gang members, and any slight against him is

 taken extraordinarily seriously by members and associates of NLC.

               Moise has long been associated with two chain necklaces with pendants with

 the letters “SPMB” on them. For example, in 2016, Moise posted to Instagram several

 photographs showing him wearing these necklaces or close up photographs of the pendants.

 Examples of these photographs are shown below.




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              These pendants were also used as the cover art for an album released by Moise

 titled, “Broken Bones & VS Stones,” as shown below.




              On June 23, 2020, shortly after his release from prison in connection with his

 sentence from the state NLC take down, Moise posted a photograph of these pendants to




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 Facebook and referenced the “Broken Bones & VS Stones,” album art in the caption, as

 shown below.




                As late as October 2020, Moise posted photographs of himself wearing the

 two pendants to Facebook, including, for example, the October 23, 2020 post shown below.




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               Sometime on or before November 1, 2020, however, Moise apparently gave

 the larger of the two pendants to Fremont. For example, Fremont was shown wearing the

 larger pendant and Moise was shown wearing the smaller pendant only in the music video

 for Moise’s song “Whirlwind” (available online at

 https://www.youtube.com/watch?v=yiAO3X_4h-8), which was posted online on November

 1, 2020.1 A still image from that music video is shown below. Fremont is on the right.




               Similarly, in the music video for Moise’s song “Mr. Miyagi” (available online

 at https://www.youtube.com/watch?v=GIfooWDwajU), Moise is shown wearing only the




        1
               In addition to their different sizes, the two pendants are distinguishable
 because in the smaller pendant, the letters “SPMB” are diamond encrusted, while in the
 larger pendant, only the circumference of the pendant is inlaid with diamonds.
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 smaller pendant (left) while Fremont is shown wearing the larger pendant (right), as shown

 below. This video was filmed on November 6, 2020.




               At some point between the filming of the “Mr. Miyagi” video on November 6,

 2020 and the morning of November 7, 2020, rival gang members stole the SPMB pendant

 worn by Fremont (hereinafter, the “SPMB Chain”). As discussed on several jail calls among

 NLC members, individuals in a car pulled up and asked Fremont for directions, and when he

 approached the car, they snatched the chain off his neck and drove off.

               The morning of November 7, 2020, rival gang members began posting

 photographs of the SPMB Chain with captions meant to mock Moise, the person most

 closely associated with the chain. For example, as shown below, an individual with

 username “Mikey_Bands83” posted a photograph of a close-up of the SPMB Chain with the

 caption, “N**gas shuldve took the wheel chair to.” This is a mocking reference to the fact

 that Moise is paralyzed from a shooting and uses a wheelchair.

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               Rival gang members continued mocking Moise and NLC with photographs of

 the SPMB Chain, and news of the theft spread on social media, YouTube and Reddit. As the

 government will prove at trial, numerous members of NLC received messages asking them

 about the incident or mocking them for the incident, and leaders of NLC circulated images

 and links of the mocking posts among themselves.

        B.     The November 7 Shootings

               At approximately 12:04 p.m. on November 7, 2020, defendant Bailey

 photographed a picture of a phone showing an image from the “Mikey_Bands83” account —

 the account that had posted the mocking image of the SPMB Chain shown above —

 depicting the account owner together with his gang, as shown below. Location data for this

 photograph shows that at the time it was taken, Bailey was in the vicinity of the Jeep later

 used in the drive-by shootings, in Flatbush.

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               Approximately half an hour later, Bailey apparently turned off his phone.

 Around the same time, GPS data for the Jeep, video surveillance and cell site data for the

 other participants in the shootings that day — Battice, Fremont, Thompson and Agoro —

 show that the Jeep and Agoro (driving his own car) set off for rival gang territory. They first

 drove to Prospect Park South, and after failing to find targets, drove to Canarsie, where they

 shot at a group of people. Shortly after the shooting, Battice took a screenshot of the

 Mikey_Bands83 post about the SPMB Chain, which screenshot was later recovered from his

 iCloud account.

               The convoy then returned to Flatbush before driving back out to rival gang

 territory in Brownsville. When they found no targets there, the convoy drove back to

 Canarsie, where they shot into a second crowd of people. As this was occurring, Destine was

 messaging Thompson with addresses in Prospect Park South, Brownsville and Canarsie —

 the exact neighborhoods being targeted.

        C.     The November 8 Car Chase

               The night of November 7, into the early morning of November 8, 2020, Bailey

 went out partying with three other members of NLC: Devon Cummings, D’Angelo Rook

 and Ashton Williams. As they drove back and forth between Brooklyn and Manhattan the

 men had three firearms in the car with them, including two firearms that had been used in the

 two November 7 shootings described above.

               After 3:00 a.m., the men were speeding down Flatbush Avenue when a police

 officer attempted to stop them. The men sped off, leading the police on a high-speed chase,

 throwing their guns out the window as they drove. The car eventually crashed. Bailey

 escaped, but the other three men were arrested. The three guns the men had thrown out the

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 window — including the two used in the shootings — were recovered that night, and a

 magazine dropped by Bailey as he fled was recovered the next morning.

        D.     The November 9 Shootings

               After the November 7 shootings, online discussion of the theft of the SPMB

 Chain continued. Late on November 7, 2020, Destine sent a photograph of one of the

 mocking posts to Britton in prison. The following morning, November 8, 2020, Destine sent

 messages to Britton stating, “We dont want that to go back to him . . . We dont need social

 media to know nothing . . . No trace for nothing n**gas gonna die.”

               Later on November 8, 2020, at approximately 10:18 p.m., Destine sent

 messages to Agoro stating, “Yo pick 2 n**gas to spin with u its mandatory im not hearing no

 . . . Or n**gas getting fixed bro . . . N**gas aint violent for shit.” “To spin” means to look

 for and shoot rival gang members.

               The next morning, November 9, 2020, at approximately 7:50 a.m., Agoro

 responded: “Bro I Wanna Spin I Don’t Wanna Be Driving Behind N**gas Like I Don’t Go

 On Drills For That Bro I Could Care Less about Anyone Else You Kno How I’m Moving,

 Next Time N**gas Go Tell N**gas Don’t Call Me For No Follow Up Or Ima Violate.” To

 “drill” is synonymous with to “spin,” i.e., to shoot. In this message, Agoro is stating that he

 wants to go out and shoot (“I Wanna Spin”) but that this time, he wants to be in the shooter

 car, not the decoy car, as he had been for the November 7 shootings (“I Don’t Wanna Be

 Driving Behind N**gas Like I Don’t Go On Drills For That . . . Next Time N**gas Go Tell

 N**gas Don’t Call Me For No Follow Up”).

               That day, members and associates of the gang — including Agoro, Destine,

 Thompson, Hepburn, Lima and Fremont — engaged in two additional shootings. As with

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 the November 7 shootings, the participants were captured on video, vehicles used in the

 shootings were tracked with GPS trackers and the individuals’ cell sites demonstrate that

 they were traveling with the cars used in the shootings.

 V.     The Agoro Robbery and Extortion

                On March 12, 2021, a member of NLC named Shaking Powell went to a deli

 in Flatbush and attempted to take items without paying. An employee of the deli (“John

 Doe”) stopped Powell and an argument broke out, with Powell throwing items in the store

 until he eventually left.

                Two days later, Agoro came to the deli with another member of NLC, Malachi

 Simms, and approached John Doe. Agoro told John Doe, in sum and substance, that the deli

 was in Agoro’s territory and that John Doe could not disrespect Agoro’s friends. Agoro then

 told John Doe to empty his pockets. When John Doe refused, Agoro brandished a firearm.

 John Doe handed over his money. Agoro then stated that he would be back and that from

 that point on, whatever Agoro took from the store, John Doe would have to pay for it.

                As captured on surveillance video, Agoro wore the same pants for this robbery

 and extortion that he had worn during the November 9, 2020 shootings. A subsequent search

 of his home found evidence of all of these crimes.

                                         ARGUMENT

 I.     Evidence of Certain Uncharged Crimes and Other Acts Should Be Admitted

                The government moves to admit certain evidence and acts of the defendants

 and other members and associates of GD, including: (1) evidence of the defendants’ gang

 membership in and association with GD and NLC; (2) other NLC members’ and associates’



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 participation in drug trafficking, firearms possession, attempted murder and other acts of

 violence related to their gang membership; and (3) evidence of the theft of the SPMB Chain.

               The evidence the government seeks to admit is direct evidence because it

 proves required elements of the charged attempted murders in-aid-of racketeering and

 assaults in-aid-of racketeering (the “racketeering offenses”), including the existence of the

 enterprise (the Folk Nation Gangster Disciples), the enterprise’s involvement in racketeering

 activity, the defendants’ association, membership and positions in the enterprise, and

 motivation for the charged racketeering offenses. The proffered evidence is also necessary to

 complete the story of the crime on trial and provides necessary context and background for

 the charged crime. To the extent any of the proffered evidence does not fit within these

 categories, the evidence is nonetheless offered for a proper non-propensity purpose under

 Rule 404(b), i.e., to show the criminal nature of the relationship between the defendants, to

 establish motive, opportunity, intent, preparation, plan and knowledge with regard to the

 specific conduct comprising the charged crime. Finally, the probative value of all of the

 evidence identified above is not “substantially outweighed” by any prejudicial effect and thus

 passes the balancing test under Federal Rule of Evidence 403.

        A.     Applicable Law

               1.      Racketeering Evidence

               To prove a violation of Section 1959, the government must prove: (1) the

 existence of an enterprise engaged in or affecting interstate or foreign commerce; (2) that the

 enterprise was engaged in racketeering activity; (3) that the defendant had or was seeking a

 position in the enterprise; (4) that the defendant committed the alleged crime of violence; and

 (5) that the defendant’s general purpose in committing the crime of violence was to maintain

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 or increase his position in the enterprise. Sand, et al., Modern Federal Jury Instructions,

 Instruction 52-36.

                With respect to the first element, 18 U.S.C. § 1959(b)(2) defines “enterprise”

 as “any partnership, corporation, association, or other legal entity, and any union or group of

 individuals associated in fact although not a legal entity, which is engaged in, or the activities

 of which affect, interstate or foreign commerce.” See also United States v. Mejia, 545 F.3d

 179, 203 (2d Cir. 2008) (defining “enterprise” in the context of violence in-aid-of

 racketeering statute as “‘a group of persons associated together for a common purpose of

 engaging in a course of conduct’” (quoting United States v. Turkette, 452 U.S. 576, 583

 (1981))). An “enterprise” “must have an existence separate from the series of criminal acts

 that constitute its racketeering activity.” Id. at 203. Accordingly, the Second Circuit has

 expressly approved the admission of other act evidence in the context of a Section 1959

 prosecution to prove the existence of the enterprise:

                Where, as here, the existence of a racketeering enterprise is at
                issue, evidence of uncharged crimes committed by members of
                that enterprise, including evidence of uncharged crimes
                committed by the defendants themselves, is admissible “to prove
                an essential element of the RICO crimes charged — the existence
                of a criminal enterprise in which the defendants participated.”
                [United States v.] Matera, 489 F.3d [115,] 120 [(2d Cir. 2007)]
                (upholding admission of evidence of uncharged murders). The
                evidence was also admissible to show the existence of the
                conspiracy with which both Appellants were charged.

 Id. at 206 (citing United States v. Diaz, 176 F.3d 52, 79 (2d Cir. 1999)); see also Matera, 489

 F.3d at 120 (upholding the admission of uncharged murders to prove the existence of the

 Gambino family); Mejia, 545 F.3d at 206-07 (concluding that the admission of evidence of a

 prior uncharged shooting was proper because the shooting demonstrated the existence of the

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 racketeering enterprise and the existence of the conspiracy with which the defendants were

 charged).

               With respect to the second element of Section 1959, “racketeering activity” is

 defined in 18 U.S.C. § 1959(b)(1) by cross-reference to 18 U.S.C. § 1961, which lists, among

 other crimes that count as “racketeering activity,” narcotics trafficking and any act or threat

 involving murder.

               With respect to the fifth element of Section 1959, the Second Circuit has

 explained that it may be proved in various ways:

               In order to establish that a crime of violence was committed for
               the purpose of . . . maintaining or increasing position in a RICO
               enterprise, the government is required to prove, inter alia, that the
               defendant’s general purpose in committing the crime of violence
               was to maintain or increase his position in the enterprise. . . .
               Self-promotion need not have been the defendant’s only, or even
               his primary, concern, if it was committed as an integral aspect of
               membership in the enterprise. United States v. Concepcion, 983
               F.2d [369,] 381 [(2d Cir. 1992)]. The motive requirement is thus
               satisfied if the jury could properly infer that the defendant
               committed his violent crime because he knew it was expected of
               him by reason of his membership in the enterprise or that he
               committed it in furtherance of that membership. Id.

 United States v. Thai, 29 F.3d 785, 817-18 (2d Cir. 1994) (some citations omitted); see also

 United States v. Payne, 591 F.3d 46, 63 (2d Cir. 2010) (“‘[T]he motive requirement is

 satisfied if the jury could properly infer that the defendant committed his violent crime

 because he knew it was expected of him by reason of his membership in the enterprise or that

 he committed it in furtherance of that membership.’” (quoting United States v. Pimentel, 346

 F.3d 285, 295-96 (2d Cir. 2003)); United States v. Desena, 260 F.3d 150, 155 (2d Cir. 2001);

 Diaz, 176 F.3d at 95; Concepcion, 983 F.2d at 381.



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                Under Thai and its progeny, the nature of the charged enterprise, the rules and

 structure of that enterprise, and the expectations of membership are all relevant to proving

 whether a defendant committed a violent crime with the purpose of “maintaining or

 increasing position” within the enterprise. See, e.g., United States v. Castro, 659 F. Supp. 2d

 415, 421 (E.D.N.Y. 2009) (concluding in Section 1959 prosecution that evidence of an

 uncharged shooting was admissible to prove the motive for a charged shooting where the

 motive behind both shootings was to “harm members of rival gangs”).

                2.     Other Acts as Direct Evidence of the Charged Crime

                Although Fed. R. Evid. 404(b) generally governs the admission of evidence

 regarding a defendant’s other crimes, wrongs or acts, “[i]t is well settled that in prosecutions

 for racketeering offenses, the government may introduce evidence of uncharged offenses to

 establish the existence of the criminal enterprise.” United States v. Baez, 349 F.3d 90, 93

 (2d Cir. 2003). In other words, “[a]n act that is alleged to have been done in furtherance of

 the alleged conspiracy [] is not an ‘other’ act within the meaning of Rule 404(b); rather, it is

 part of the very act charged.” Concepcion, 983 F.2d at 392. Therefore, crimes committed in

 furtherance of a racketeering enterprise are admissible as direct evidence of an enterprise or

 conspiracy, without regard to Rule 404(b). United States v. DiNome, 954 F.2d 839, 843 (2d

 Cir. 1992) (evidence of uncharged murders admissible to prove relationship and continuity of

 RICO enterprise’s illegal activities).

                The Second Circuit’s opinion in United States v. Wong, 40 F.3d 1347 (2d Cir.

 1994), is particularly instructive. In Wong, the Second Circuit held that the district court

 properly admitted testimony of an uncharged shootout between rival gangs. In affirming the

 district court’s ruling, the Second Circuit reasoned as follows:
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                [T]he evidence [of uncharged acts] was admissible to prove the
                existence and nature of the Green Dragons “enterprise” and the
                participation of defendants-appellants in that enterprise, rather
                than as evidence of other crimes under Rule 404(b). The court
                determined that although other evidence had been admitted
                regarding the defendants’ violent conduct, the challenged
                evidence was not cumulative because “there is no piece of
                evidence that the government has proffered that I do not expect
                will be subject to challenge, if not here during the evidentiary
                phase of the trial, [then] during summations of counsel.”

 Id. at 1378. The Second Circuit held that “this evidence was probative of the existence,

 organization and nature of the RICO enterprise, a central allegation in the indictment.” Id.

 Therefore, “‘the fact that it may also have been probative of a separate uncharged crime is

 irrelevant.’” Id. (quoting United States v. Coiro, 922 F.2d 1008, 1016 (2d Cir. 1991)); see

 also Diaz, 176 F.3d at 79 (affirming admission of numerous uncharged criminal acts

 admitted as “enterprise evidence,” i.e., to establish the existence of the charged enterprise,

 including evidence of drug trafficking, possession of weapons, assaults in aid of

 racketeering, robbery and related acts of violence and determining that the evidence was not

 subject to Fed. R. Evid. 404(b)); United States v. Miller, 116 F.3d 641, 682 (2d Cir. 1997)

 (affirming admission of uncharged murders as proof of racketeering enterprise and

 conspiracy, rather than pursuant to Rule 404(b)).

                It is also well-established that “‘evidence of uncharged criminal activity is not

 considered other crimes evidence under Fed. R. Evid. 404(b) if it arose out of the same

 transaction or series of transactions as the charged offense, if it is inextricably intertwined

 with the evidence regarding the charged offense, or if it is necessary to complete the story of

 the crime on trial.’” United States v. Carboni, 204 F.3d 39, 44 (2d Cir. 2000) (quoting




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 United States v. Gonzalez, 110 F.3d 936, 942 (2d Cir. 1997)); see also United States v.

 Towne, 870 F.2d 880, 886 (2d Cir. 1989) (same).

                Moreover, the Second Circuit has repeatedly upheld the admission of other act

 evidence as direct evidence of the charged crimes where such evidence provides necessary

 background or context for the charged crimes. See Gonzalez, 110 F.3d at 942 (uncharged

 burglary admissible in trial for felon in possession of a firearm because, inter alia, it provided

 “crucial background evidence that gave coherence to the basic sequence of events that

 occurred on the night” of defendants’ arrest); United States v. Inserra, 34 F.3d 83, 89 (2d Cir.

 1994) (noting that evidence of other “bad acts” may be admitted “to provide the jury with the

 complete story of the crimes charged by demonstrating the context of certain events relevant

 to the charged offense”); United States v. Langford, 990 F.2d 65, 70 (2d Cir. 1993) (“It is

 within the court’s discretion to admit evidence of acts committed prior to the time charged in

 the indictment to prove the existence of the alleged conspiracy as well as to show its

 background and history.”); United States v. Pitre, 960 F.2d 1112, 1119 (2d Cir. 1992) (“Prior

 act evidence may be admitted to inform the jury of the background of the conspiracy

 charged, to complete the story of the crimes charged, and to help explain to the jury how the

 illegal relationship between participants in the crime developed.”). In this respect, “trial

 court[s] may admit evidence that does not directly establish an element of the offense

 charged, in order to provide background for the events alleged in the indictment.

 Background evidence may be admitted to show, for example, the circumstances surrounding

 the events or to furnish an explanation of the understanding or intent with which certain acts

 were performed.” United States v. Coonan, 938 F.2d 1553, 1561 (2d Cir. 1991) (quoting

 United States v. Daly, 842 F.2d 1380, 1388 (2d Cir. 1988)).
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                3.     Rule 404(b) Evidence

                In the alternative, evidence of uncharged crimes and other acts may be

 admitted pursuant to Rule 404(b) for numerous permissible purposes, including to prove

 motive, opportunity, intent, preparation, plan, knowledge, identity or absence of mistake or

 accident. Fed. R. Evid. 404(b)(2). See United States v. Ortiz, 857 F.2d 900, 903 (2d Cir.

 1988). The Second Circuit has emphasized that Rule 404(b) is a rule of broad reach and

 liberal application, and applies an “inclusionary approach” to admitting “other acts” evidence

 under Rule 404(b). See United States v. Garcia, 291 F.3d 127, 136 (2d Cir. 2002) (citing

 United States v. Pitre, 960 F.2d 1112, 1118 (2d Cir. 1992)); see also United States v. Levy,

 731 F.2d 997, 1002 (2d Cir. 1984) (“We have adopted the inclusionary or positive approach

 to [404(b)]; as long as the evidence is not offered to prove propensity, it is admissible.”).

                A party must satisfy three requirements for evidence of “other crimes, wrongs

 or acts” to be admitted under the Rule. First, the evidence must be offered for a purpose

 other than to prove the defendant’s bad character or criminal propensity. See United States

 v. Mickens, 926 F.2d 1323, 1328 (2d Cir. 1991) (citing United States v. Colon, 880 F.2d 650,

 656 (2d Cir. 1989)). Such permissible purposes include to prove motive, opportunity, intent,

 preparation, plan, knowledge, identity or absence of mistake or accident. Fed. R. Evid.

 404(b)(2). Second, the evidence must be relevant under Rules 401 and 402 and more

 probative than prejudicial in accordance with Rule 403. See Mickens, 926 F.2d at 1328

 (citing Ortiz, 857 F.2d at 903); Levy, 731 F.2d at 1002. Third, if the defendant requests that

 the jury be instructed as to the limited purpose for which the government’s evidence is being

 admitted, the court must furnish such an instruction. See Mickens, 926 F.2d at 1328-29;

 Levy, 731 F.2d at 1002.
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                The Second Circuit has repeatedly held that evidence of uncharged crimes

 may be admitted at trial under Rule 404(b) to establish the existence and development of a

 criminal relationship between coconspirators. See, e.g., United States v. Williams, 205 F.3d

 23, 33-34 (2d Cir. 2000) (upholding admission of evidence relating to the defendant’s prior

 criminal activities with coconspirators in charged drug conspiracy as relevant evidence “to

 inform jury of the background of the conspiracy charged, to complete the story of the crimes

 charged, and to help explain to the jury how the illegal relationship between the participants

 in the crime developed”); United States v. Pipola, 83 F.3d 556, 566 (2d Cir. 1996) (“One

 legitimate purpose for presenting evidence of extrinsic acts is to explain how a criminal

 relationship developed; this sort of proof furnishes admissible background information in a

 conspiracy case.”); United States v. Rosa, 11 F.3d 315, 333-34 (2d Cir. 1993) (holding that

 evidence of co-defendants’ prior dealings over a 14-year period, which included the

 commission of stolen property and narcotics offenses, “was properly admitted to explain how

 the illegal relationship between the two [defendants] developed and to explain why [one

 defendant] . . . appointed [the other defendant] . . . to a leading position in the [narcotics]

 Organization”); Pitre, 960 F.2d at 1119 (“Prior act evidence may be admitted to inform the

 jury of the background of the conspiracy charged, to complete the story of the crimes

 charged, and to help explain to the jury how the illegal relationship between participants in

 the crime developed.”).

                Other acts evidence is also admissible under Rule 404(b) to “corroborate

 crucial prosecution testimony” if the corroboration is “direct and the matter corroborated is

 significant,” United States v. Everett, 825 F.2d 658, 660 (2d Cir. 1987) (internal quotation

 marks omitted).
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                Finally, acts that occurred after the charged conduct are also admissible under

 Rule 404(b). E.g., United States v. Goffer, 721 F.3d 113, 124 (2d Cir. 2013) (“Subsequent

 acts are frequently probative as to intent”); United States v. Germosen, 139 F.3d 120, 128

 (2d Cir. 1998) (“The fact that the evidence involved a subsequent rather than prior act is of

 no moment. ‘Subsequent act’ evidence may be admitted under Rule 404(b).”); United States

 v. Ramirez, 894 F.2d 565, 569 (2d Cir. 1990) (“Relevancy cannot be reduced to mere

 chronology; whether the similar act evidence occurred prior or subsequent to the crime in

 question is not necessarily determinative to its admissibility.”).

        B.      Discussion

                 1.    The Evidence of the Defendants’ Gang Affiliation and Association with
                       GD Members Is Admissible

                At trial, the government expects to introduce evidence concerning the structure

 and hierarchy of GD and the defendants’ association with and membership in the gang. This

 evidence will be introduced in various manners including through photographs and videos of

 members and associates of GD together, social media postings, YouTube videos, and

 communications between members and associates of GD.

                Evidence admitted at trial, including through evidence retrieved from a phone

 belonging to NLC-leader Britton will also lay out the hierarchy and organization of the

 enterprise. Specifically, messages and photographs from Britton’s phone will show that

 Destine, Fremont and Moise are members of the set’s five-person “Steering Committee,” a

 group of the top leaders of the set; Bailey acted as the set’s “Chief of Security,” responsible

 both for policing violations of the gang’s internal rules and for retaliating against rival gang

 members; and Thompson served as the “Assistant Chief of Security” under Bailey.


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               At trial, the government will introduce social media records for the defendants

 in which the defendants use both the phrases and symbols of GD to signify their membership

 and association with the gang. Social media posts also show that the defendants are

 associated with one another through their social media connections, interactions and

 photographs. For example, the vanity name for Destine’s Facebook account is “YL Flocks.”

 The bio section for Fremont’s Instagram account includes both the twirl and black heart

 emojis. Evidence from Battice’s Facebook account will show that Battice is Facebook

 friends and in numerous photographs with members and associates of GD and NLC,

 including Fremont, Bailey, Thompson and Moise.

                In addition to the social media posts, which show the defendants’

 membership and association with GD, the association of the defendants and their loyalty to

 GD will also be presented through the admission of multiple YouTube videos that are posted

 publicly online and have been produced in discovery. These YouTube videos include music

 videos by defendant Davon Brown (“Shoot Up the Party” available online at

 https://www.youtube.com/watch?v=dO30t5h66Ys), Moise (“The Intro” available online at

 https://www.youtube.com/watch?v=7xstDoJ29bU; “Controversy” available online at

 https://www.youtube.com/watch?v=6Menj2waYWs; “Whirlwind” available online at

 https://www.youtube.com/watch?v=yiAO3X_4h-8; “Mr. Miyagi” available online at

 https://www.youtube.com/watch?v=GIfooWDwajU; and “Switch on Glee” available online

 at https://www.youtube.com/watch?v=_46SLyA-9OQ) and Christian Williams (“Twirl

 Story” available online at https://www.youtube.com/watch?v=uAky7JXrl_g; “Ambition”

 available online at https://www.youtube.com/watch?v=ksRAovp8xWk; “Dance with Me”


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 available online at https://www.youtube.com/watch?v=RCwvIKiXYZU; and “FTO”

 available online at https://www.youtube.com/watch?v=AlnZFhmxvCk). In these music

 videos, the defendants are shown using hand gestures associated with GD, including

 “throwing the rake” and “dropping the woo,” waving a black bandana, and dancing the “twirl

 dance” — all actions that are symbols and gestures that members and associates of GD use to

 signify their membership and association with the gang. Lyrics in the music videos also

 commonly reference GD. For example, in the music video for Moise’s song “Controversy,”

 the song opens with a female voice saying, “Sounds like twirl music,” and then a male voice

 stating, “Twirl with us,” and “SP” (short for As discussed above, “Twirl” and “SP” are both

 terms associated with GD and NLC. At one point during the song, Moise raps, “GD, throw it

 up when I say it.” When he sings this lyric, he displays a hand gesture intended to look like a

 pitchfork (i.e., throwing the rake).

                These music videos also show the association among the defendants.

 Defendants Thompson, Fremont, Destine, Brown, Bailey, Lima and Agoro and GD members

 and associates, Moise, Alfarobarber, Marcellus, Apollon and Christian Williams all appear in

 several of the music videos. For example, in the music video for Moise’s song “Mr.

 Miyagi,” defendants Fremont, Bailey, Agoro, Destine and Lima are featured in the video,

 along with other members and associates of GD. (In this video, Bailey and Destine also wear

 the same clothing they later wear at the shootings.) Throughout the Mr. Miyagi video,

 individuals are shown using hand gestures and dances that signify their membership and

 association with GD.




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               In addition to the music videos identified above, the government plans to

 admit other YouTube videos in which GD members discuss GD, thereby corroborating the

 existence of the enterprise. Specifically, Moise gave an interview (available online at

 https://www.youtube.com/watch?v=yaXQqBckY_I) in which he discusses SPMB (“stay

 paid money burner”) and twirl (“the winner’s in real life”). In another interview posted on

 YouTube, Dens Marcellus (available at https://www.youtube.com/watch?v=SVmtqcTE7p8)

 admits that he became a member of GD in 2012 and refuses to address the topic of the stolen

 SPMB Chain when asked about it. Relatedly, the government intends to introduce

 statements made by Agoro that establish the existence of the enterprise. Specifically, when

 Agoro was arrested in relation to the instant matter, he was interviewed by the U.S. Marshals

 Service. During the interview, Agoro was asked by the Marshals if he was a member of a

 gang, to which Agoro replied, “No Love City.”

               The proffered evidence should be admitted because it proves the required

 elements of the charged racketeering offenses. The evidence demonstrates the existence of

 the enterprise — GD and NLC — by showing relationships among members and associates

 of the gang who are engaged in these activities together.2 This evidence is also admissible


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                The statements made by Agoro, Marcellus and Moise are offered for non-
 hearsay purposes and are thus admissible. First, Agoro’s statement that he is a member of
 “No Love City” is an opposing party’s statement and therefore admissible against Agoro
 himself. See Fed. R. Evid. 801(d)(2) (requiring the statement to be “offered against an
 opposing party”). Agoro’s statement is further admissible against all defendants since it is
 not being offered for the truth of the matter — that Agoro is in fact a member of No Love
 City — but to corroborate that “No Love City” exists. United States v. Detrich, 865 F.2d 17,
 21 (2d Cir. 1988). Similarly, Marcellus and Moise’s statements about the gang are
 admissible against all defendants, not for the truth that Marcellus and Moise are members of
 the gang, but as co-conspirator statements, made in furtherance of the conspiracy — to
 perpetuate the notoriety of the gang and its members. See United States v. Desena, 260 F.3d

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 under Rule 404(b) to establish the existence of the relationship between co-conspirators, and

 to explain the relationship between the numerous participants involved in the shootings that

 took place on November 7 and 9, 2020.

                2.       The Evidence of Other GD Members’ and Associates’ Involvement in
                         Uncharged Crimes Is Also Admissible at Trial

                The government intends to introduce evidence of criminal acts committed by

 GD members and associates — including drug trafficking, firearms possession, fraud, and

 trafficking in counterfeit currency and violence — related to their gang membership.

                Evidence of GD members and associates other than the charged defendants

 participating in drug trafficking, trafficking in counterfeit currency, fraud, and non-fatal

 shootings and other acts of violence related to their gang membership should be admitted

 because it proves the required elements of the charged attempted murder and assaults in-aid-

 of racketeering. Evidence of these crimes demonstrates the existence of GD by showing

 relationships among members and associates of the gang who are engaged in these activities

 together. The proffered evidence also demonstrates that GD was engaged in racketeering

 activity and used attempted murder and assault to enhance the enterprise’s prestige and

 protect and expand the enterprise’s criminal operation and drug trafficking, trafficking in

 counterfeit currency and fraud as means of obtaining money, as alleged in the Indictment.

 See Indictment ¶ 6,7.




 150, 157-58 (2d Cir. 2001) (quoting United States v. Gigante, 166 F.3d 75, 82 (2d Cir
 1999)).
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               Moreover, evidence that the defendants possessed firearms is relevant to

 showing their access to firearms and to corroborate the government’s argument that the

 defendants were members and associates of a violent criminal enterprise.

               3.     Evidence Related to the Theft of the SPMB Chain Is Admissible

               At trial, the government intends to admit evidence concerning the theft of the

 SPMB Chain, which served as the motivation for the November 7 and 9, 2020 shootings.

               As mentioned above, Moise, also known as “SPMB Bills,” is the most

 publicly prominent member of NLC. He frequently appeared on social media wearing these

 chains, and the two chains were featured as the album art for one of his rap albums.

               On the morning of November 7, 2020, rival gang members began posting

 photographs and videos of the stolen chain. In addition to the posts by the “mikey_bands83”

 account, an individual posted a video on YouTube with the title “SPMB BILLS GETS HIS

 CHAIN SNATCHED” (available online at

 https://www.youtube.com/watch?v=g3JUxNFpVto). The video consisted of the same image

 posted to the “mikey_bands83” account with the additional text added stating, “N**gas took

 @spmb_bills chain.” On November 7, 2020, an individual made a post to Reddit, an internet

 chat board, with the title “Opps stained SPMB bills chain” and the subtitle “They left him

 with his wheelchair at least.” On or before November 8, 2020, the user of an Instagram

 account with username “gthrilla_dfa” posted an image of the larger SPMB pendant, which

 was most recently worn by Fremont, with the text “TALK NOW WHO WANT THIS TALT

 TO ME NICE.”

               These posts were circulated on YouTube and discussed on Reddit with

 speculation that Moise or Marcellus had been robbed of the chain and were meant to taunt
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 Moise and other GD members. Over the course of November 7 and 8, individuals sent

 photographs of the chain to Moise, Destine and Fremont over social media, asking them what

 was going on.

                 On November 10, 2020, an individual who uses the online pseudonym

 “UpperClass” posted a video on YouTube titled “What Really Happened To SPMB Bills

 Chain - Upper Cla$$ Reaction” (available online at

 https://www.youtube.com/watch?v=KkBNtrC6v5w). In this video, UpperClass discusses the

 rumors of Moise’s necklace being stolen and notes how others are displaying the necklace

 online. In this video, UpperClass says that various versions of the rumors state that the

 necklace was stolen from Moise directly, or from Marcellus, also known as “Denz Flocks.”

 UpperClass states, however, that he has been informed that Moise had sold the necklace to

 another person and that the necklace was stolen from that person by individuals in a car. On

 November 11, 2020, Destine sent a clip of the UpperClass video to Thompson, to which

 Thompson responded, “Smh [shaking my head] soon check that.”

                 A video was also posted on YouTube titled “Denz flocks address SPMB

 BILLS chain getting snatched..says carnasie woods are fake” (available at

 https://www.youtube.com/watch?v=_lCwmZzckKk ). The video contains a live Instagram

 story from user “denzflockz” in which Marcellus orally responded to real-time comments

 concerning the purported theft of the SPMB Chain. For example, the user of an Instagram

 account with username “lean_and_chill” wrote, “Son got his chain snatched in a second” and

 “Upper class told us the truth” (referring to the November 10, 2020 video discussed above).

 Marcellus responded saying, “me and my n**gas never got no chain snatched, ever, you



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 fucking stupid?” Marcellus continued, “I know the chain is not here no more, whoever got it

 cool, but y’all n**gas didn’t snatch nothing.”

               On November 15, 2020, Agoro (who had been arrested for the first

 November 9, 2020 shooting) called an NLC member named Gianni Nelson on a recorded jail

 call. In this discussion, Agoro stated that the motivation for the shootings had been the theft

 of the SPMB pendant from Fremont:

               AGORO:         They was watching me from Monday [November 9, 2020]. Feel
                              me? They wanted to book me from Monday. But then n**ga
                              then I just started doing mad shit. So they sat down and
                              watched me for that whole week and just and they was waiting
                              for me to just, they was waiting for me to blow shit up n**ga
                              you feel me bro and n**ga that’s wut I went to go do n**ga
                              blow shit up cause you know bro’s chain got snatched I don’t
                              know if you know about that feel me?

               Nelson:        Oh I don’t know. Yea yea yea yea the, the uh SP chain [i.e., the
                              SPMB pendant].

               AGORO:         Yea bro n**ga feel me? So n**gas . . .

               Nelson:        Denz? [Dens Marcellus]

               AGORO:         Huh?

               Nelson:        Denz got his shit snatched?

               AGORO:         You know Denz got no SP chain n**ga that’s Juno [i.e.,
                              Fremont] chain n**ga.

               Nelson:        I knew it was Juno I didn’t want, I didn’t want to make it seem
                              like it but . . .

               AGORO:         N**ga that . . .

               Nelson:        Big hommie twirl?

               AGORO:         Huh?

               Nelson:        The big homie twirler got his shit took?
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               AGORO:         Yea son I ain’t gonna front he dead but it was on some pussy
                              n**ga shit. Like n**gas pulled up trying to ask for directions
                              and snatched it off his neck and drive off.

               The evidence of the story of the theft of the SPMB Chain is proof of the

 defendants’ motive for the charged attempted murder and assaults — a required element in

 proving attempted murder and assault in-aid-of-racketeering. See Mejia, 545 F.3d at 203.

 The proffered statements and social media postings discussing the theft of the SPMB Chain

 and the related taunting of Moise and other GD members because of the theft are critical to

 understanding the feud between GD and rival gang members and thus provides both direct

 evidence of defendants’ motive in driving to opposition territory to engage in the retaliatory

 shootings and provides necessary background and context to the crime.3 This evidence

 therefore should be admitted.

               In the alternative, this same evidence is admissible pursuant to Rule 404(b) for

 several purposes. First, the expected testimony, social media evidence, YouTube videos and

 the jails calls during which the defendants and others discuss the purported theft of Moise’s

 pendant is being offered as to the defendants’ motive to engage in the shootings that took

 place on November 7 and 9, 2020 — namely, to seek revenge on rival gang members who

 either stole Moise’s pendant or were circulating rumors that Moise’s pendant as stolen in an



        3
               These statements are all introduced for non-hearsay purposes and thus
 admissible. Third-party conversations discussing the theft of the SPMB Chain are not being
 introduced for the truth of the matter — that the chain was actually stolen — but to show that
 news of the theft was being used to mock Moise and members of NLC. See Fed. Rule Evid.
 801(c)(2). Similarly, statements by co-conspirators reacting to these allegations are
 admissible as co-conspirator statements, present sense impressions, excited utterances and to
 show the declarant’s then existing state of mind. See Fed. Rule Evid. 803; United States v.
 Desena, 260 F.3d 150, 157-58 (2d Cir. 2001).
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 effort to taunt Moise and other GD members. See Fed. R. Evid. 404(b)(2) (providing that

 motive is one of the proper uses of “other acts” evidence). Additionally, as indicated above,

 the evidence is offered “to explain the development of the illegal relationship between the

 defendants and their co-conspirators and explain the mutual trust that existed between the

 coconspirators.” United States v. Guerrero, 882 F. Supp. 2d 463, 492 (S.D.N.Y. 2011). The

 conversations the defendants had about the purported theft of Moise’s pendant provides

 direct proof of the relationships among the defendants, as well as with their co-conspirators

 and other gang members.

                4.     The Probative Value of the Proffered Evidence Far Outweighs Any
                       Prejudicial Effect

                Each of the above categories of proffered evidence is highly relevant and

 probative of the charged crimes, and the defendants will not be unfairly prejudiced by the

 admission of such evidence. There is accordingly no basis to exclude the evidence under

 Federal Rule of Evidence 403. Specifically, because the proffered evidence does “not

 involve conduct any more sensational or disturbing” than the offenses charged, Pitre, 960

 F.2d at 1120, there is no risk of unfair prejudice with respect to that evidence.

                As explained above, the evidence the government seeks to admit is highly

 probative because it is direct evidence demonstrating the existence of the charged enterprise,

 the defendants’ positions within the enterprise, the fact that the enterprise was engaged in

 racketeering activity, the rivalry between GD and other gangs, and the defendants’ motive

 for conducting the shootings, i.e., to maintain or increase their position in the enterprise.

 Furthermore, the admission of the proffered evidence would not result in any unfair

 prejudice, let alone unfair prejudice that substantially outweighs the probative value of the

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 evidence. See United States v. Curley, 639 F.3d 50, 57 (2d Cir. 2011) (noting that for

 evidence to be unfairly prejudicial under Rule 403, it must “tend[ ] to have some adverse

 effect upon a defendant beyond tending to prove the fact or issue that justified its admission

 into evidence”). Moreover, the jury could be given an appropriate limiting instruction to

 minimize any potential unfair prejudice, and the government does not oppose such an

 instruction.

 II.    Case Numbers 20-CR-293 (the Shootings) and 21-CR-166 (the Agoro Robbery)
        Should Be Tried Together

        A.      Applicable Law

                Under Fed. R. Crim. P. 13, a “court may order that separate cases be tried

 together as though brought in a single indictment or information if all offenses and all

 defendants could have been joined in a single indictment or information.” “For this

 determination, reference is necessarily made to” Fed. R. Crim. P. 8, which governs which

 cases may be joined in an indictment. United States v. Halper, 590 F.2d 422, 428 (2d Cir.

 1978). Under that rule, offenses may be joined “if the offenses charged . . . are of the same

 or similar character, or are based on the same act or transaction, or are connected with or

 constitute parts of a common scheme or plan.” This standard is met and “[j]oinder is proper

 where the same evidence will support both of the joined counts.” United States v. Tubol,

 191 F.3d 88, 95 (2d Cir. 1999).

        B.      Application

                Even absent joinder, evidence of Agoro’s robbery and extortion would be

 admissible in Case No. 20-CR-293 because it proves the essential element of 18 U.S.C.

 § 1959 that GD was involved in the racketeering acts, specifically robbery and extortion, as


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 specifically alleged in the indictment in Case No. 20-CR-293. Agoro’s assertion that NLC-

 member Powell had the right to steal from the deli, his coordinated conduct with NLC-

 member Simms, and Agoro’s claims to John Doe that the deli was in his territory are also all

 evidence that proves the existence of the enterprise.

                Moreover, the same evidence is admissible to prove both sets of crimes.

 Agoro wore the same distinctive pants during the November 9, 2020 shootings and the

 robbery. One search of his apartment found evidence of both sets of crimes. Combining the

 cases into one trial would therefore result in substantial judicial economy by avoiding

 unnecessary duplication of efforts and avoiding the need to call the same witnesses twice for

 two different trials.

                Nor is the joinder of the cases likely to prejudice any of the defendants.

 Because the underlying conduct is separate, there is no realistic risk that a juror would

 believe that Agoro is more likely to have committed the robbery and extortion because of the

 shootings, or that a juror would conclude that any of the defendants was more likely to have

 committed the shootings because Agoro committed robbery and extortion. See Pitre, 960

 F.2d at 1120. (To the extent that evidence of Agoro’s conduct suggests the existence of a

 criminal enterprise, that is not prejudicial, but appropriate probative evidence of Section

 1959’s elements.)

                Notably, the Court has held joint status conferences in the two cases from the

 very beginning. The government has also jointly produced discovery from both cases to all

 defendants from the beginning. No defendant has ever suggested that treating these two

 cases as one case is inappropriate or has questioned whether the two cases would ultimately

 be tried together.
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               The two cases should therefore be joined for a single trial.

 III.   Various Co-Conspirator Statements are Admissible

               As mentioned above, at trial the Government intends to introduce

 statements made by other participants in the shootings and other co-conspirators not on trial

 made during and in furtherance of various charged and uncharged conspiracies. Such

 statements are expected to include, but are not limited to: (1) messages concerning the

 existence of the enterprise and the motive and execution of the shootings and (2) statements

 made by GD gang members concerning the purported theft of the SPMB (including through

 Agoro’s and others’ jail calls and social media postings). As a practical matter, the

 Government anticipates that the context in which the co-conspirator statements are offered

 at trial will make clear that the statements were made during and in furtherance of the

 conspiracy.

        A.     Applicable Law

               1.      Co-Conspirator Statements: Rule 801(d)(2)(E)

                Rule 801(d)(2)(E) excludes from the definition of hearsay “statement[s] by a

 co-conspirator of a party during the course and in furtherance of the conspiracy.” Fed. R.

 Evid. 801(d)(2)(E). To admit a statement under Rule 801(d)(2)(E), a court must find only

 by a preponderance of the evidence “(a) that there was a conspiracy, (b) that its members

 included the declarant and the party against whom the statement is offered, and (c) that the

 statement was made during the course of and in furtherance of the conspiracy.” United

 States v. Coppola, 671 F.3d, 220, 246 (2d Cir. 2012).

                To be in furtherance of a conspiracy, the statement must in some way have

 been designed to promote or facilitate achievement of a goal of a then-ongoing conspiracy.

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 Thus, statements are in furtherance of the conspiracy if they: (1) inform or provide an

 update as to the status or progress of the conspiracy, see United States v. Desena, 260 F.3d

 at 158; (2) “prompt the listener . . . to respond in a way that promotes or facilitates the

 carrying out of a criminal activity,” United States v. Maldonado-Rivera, 922 F.2d 934, 958

 (2d Cir. 1990); (3) “seek to induce a co-conspirator’s assistance,” Desena, 260 F.3d at 158

 (internal quotations omitted); (4) “provide reassurance,” id.; (5) “serve to foster trust and

 cohesiveness,” id.; (6) “facilitate and protect” the conspiratorial activities, United States v.

 Diaz, 176 F.3d 52, 87 (2d Cir. 1999); or (7) inform a coconspirator of “the identity and

 activities of his coconspirators,” United States v. Rastelli, 870 F.2d 822, 837 (2d Cir. 1989).

                Statements apprising co-conspirators of past events also often further the

 conspiracy. See, e.g., United States v. Jefferson, 215 F.3d 820, 824 (8th Cir. 2000)

 (“Statements that describe past events are in furtherance of the conspiracy if they are made .

 . . simply to keep coconspirators abreast of current developments and problems facing the

 group.” (internal quotation marks omitted)); United States v. Salerno, 868 F.2d 524 (2d

 Cir. 1987) (statements were made to further the goals of the charged conspiracy where

 conversations about past events helped to coordinate future criminal activities and brief co-

 conspirators). Even after members of a conspiracy have committed crimes leading to the

 arrest of many of its members,“the conspiracy does not necessarily end; it continues until its

 aim has been achieved, it has been abandoned, or otherwise terminated.” United States v.

 Arrington, 867 F.2d 122, 130 (2d Cir. 1989) (admitting co-conspirator statements made after

 conspirators were arrested and incarcerated). Thus, imprisoned members of a conspiracy

 can continue to make statements in furtherance of the conspiracy in order to “update”

 members “on the current status of the conspiracy” and inform them about “the identity and
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 activities of . . . co-conspirators.” United States v. Persico, 832 F.2d 705, 716 (2d Cir.

 1987). Where co-conspirator statements are non-testimonial, there is no Confrontation

 Clause concern in the admission of co-conspirator statements. See United States v. Saget,

 377 F.3d 223, 228-30 (2d Cir.), supplemented, 108 F. App’x 667 (2d Cir. 2004) (analyzing

 Bourjaily v. United States, 483 U.S. 171 (1987), identifying as testimonial “a declarant’s

 knowing responses to structured questioning in an investigative environment or in a

 courtroom setting where the declarant would reasonably expect that his or her responses

 might be used in later judicial proceedings.”).

        B.      Discussion

                The proffered co-conspirator statements will principally be offered in the form

 of conversations that were retrieved from the searches of various cellphones including

 cellphones belonging to Britton, Agoro, Fremont, Bailey, Battice and Thompson. These

 conversations will evidence the existence of the enterprise and the motive for the November

 7 and 9, 2020 shootings and as such are indisputably in furtherance of the conspiracy.

                Additionally, as mentioned above, there are numerous conversations by co-

 conspirators regarding the theft of the SPMB, all of which are offered for non-hearsay

 purposes and thereby admissible. For example, Agoro was captured on a recorded jail call

 discussing the theft of the SPMB Chain with another GD member. These statements are

 admissible as they kept conspirators “abreast of current developments and problems facing

 the group,” Jefferson, 215 F.3d at 824, and “brief[ed] coconspirators,” Salerno, 868 F.2d

 524, 535-37.




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 IV.    If A Defendant Testifies, He May Be Cross Examined on His Criminal History

               If a defendant discussed herein testifies, the government seeks to cross-

 examine him about certain prior felony convictions. The prior felony convictions of the

 defendants are as follows:

                Bailey

                  o On January 13, 2015, Bailey was convicted following a guilty plea of
                    bail jumping in the second degree, a felony in violation of N.Y.P.L.
                    § 215.56, and sentenced to 18 months’ to 3 years’ imprisonment.

                  o On January 13, 2015, Bailey was convicted following a guilty plea of
                    possession of a forged instrument, a felony in violation of N.Y.P.L.
                    § 170.25, and sentenced to two to four years’ imprisonment.

                  o On August 17, 2011, Bailey was convicted following a guilty plea of
                    assuming another’s identity, a felony in violation of N.Y.P.L. § 190.79,
                    and sentenced to five years’ probation.

                Battice

                  o On March 5, 2018, Battice was convicted following a guilty plea of
                    conspiracy to manufacture and utter counterfeit obligations of the
                    United States, a felony in violation of 18 U.S.C. §§ 471, 472 and 371,
                    and false statements, a felony in violation of 18 U.S.C. § 1001, and
                    sentenced to 30 months’ imprisonment.

                  o On June 1, 2016, Battice was convicted following a guilty plea of
                    access device fraud, a misdemeanor in violation of 18 Pa. C.S.A.
                    § 4106(a)(3), and furnishing law enforcement with false identification
                    information, a misdemeanor in violation of 18 Pa. C.S.A. § 4914(a), for
                    which he received a fine.

                  o On June 23, 2015, Battice was convicted following a guilty plea of
                    attempted grand larceny, a felony in violation of Va. Code § 18.2-95,
                    and felony eluding police, in violation of Va. Code § 46.2-817(B), and
                    sentenced to five years’ imprisonment on each count.

                  o On February 6, 2008, Battice was convicted following a guilty plea of
                    robbery in the first degree, displaying what appears to be a firearm, a




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                      felony in violation of N.Y.P.L. § 160.15, and sentenced to five years’
                      imprisonment.

                 Brown

                   o On October 13, 2017, Brown was convicted following a guilty plea of
                     bad checks, a felony in violation of N.J. Rev. Stat. § 2C:21-5, and
                     sentenced to 67 days’ imprisonment.

                   o On April 21, 2017, Brown was convicted following a guilty plea of
                     petit larceny, a misdemeanor in violation of N.Y.P.L. § 155.25, and
                     sentenced to time served.

                   o On April 5, 2016, Brown was convicted following a guilty plea of
                     racketeering conspiracy, in which Brown admitted to his participation
                     in a scheme to defraud numerous banks, a felony in violation of 18
                     U.S.C. § 1962(d) and 1963(a), and sentenced to 41 months’
                     imprisonment.

                   o On July 17, 2014, Brown was convicted following a guilty plea of
                     possession of a forged instrument in the third degree, a misdemeanor in
                     violation of N.Y.P.L. § 170.20, and sentenced to 60 days’
                     imprisonment.

                 Fremont

                   o On November 6, 2017, Fremont was convicted following a guilty plea
                     of criminal possession of a weapon in the fourth degree, a misdemeanor
                     in violation of N.Y.P.L. § 265.01, and sentenced to time served.

                   o On May 4, 2017, Fremont was convicted following a guilty plea of
                     conspiracy in the fourth degree, a felony in violation of N.Y.P.L.
                     § 105.10(1), and sentenced to one to three years’ imprisonment.

                   o On May 4, 2017, Fremont was convicted following a guilty plea of
                     attempted criminal possession of a weapon in the second degree,
                     possession of a loaded firearm other than in a person’s home or
                     business, a felony in violation of N.Y.P.L. § 265.03, and sentenced to
                     three years’ imprisonment.

 Should defendant Bailey, Battice, Brown or Fremont elect to testify at trial, the government

 would seek to introduce evidence of his prior convictions as set forth above during cross-

 examination.


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        A.       Applicable Law

                 Federal Rule of Evidence 609 governs the admissibility of evidence of prior

 convictions for impeachment purposes. As relevant here, if the witness is a criminal

 defendant, evidence of a prior felony conviction is admissible “if the probative value of the

 evidence outweighs its prejudicial effect to that defendant.” Fed. R. Evid. 609(a)(1)(B).

 Under Rule 609(a)(1), the “evidence” of prior convictions that may be admitted includes “the

 essential facts of a witness’s convictions, including the statutory name of each offense, the

 date of conviction, and the sentence imposed.” United States v. Estrada, 430 F.3d 606, 615

 (2d Cir. 2005); see also United States v. Brown, 606 F. Supp. 2d 306, 315-16 (E.D.N.Y.

 2009) (same).

                 In weighing the probative versus prejudicial value of impeaching a defendant

 with a prior conviction, courts generally consider five factors: (1) the impeachment value of

 the prior crimes; (2) the date of the convictions and the defendant’s subsequent history;

 (3) the degree of similarity between the past crimes and the charged crime, with dissimilarity

 favoring admission; (4) the importance of the defendant’s testimony; and (5) the centrality of

 the credibility issue. See United States v. Hayes, 553 F.2d 824, 828 (2d Cir. 1977); see also

 United States v. Jimenez, 214 F.3d 1095, 1098 (9th Cir. 2000); United States v. Smith, 131

 F.3d 685, 687 (7th Cir. 1997); United States v. Sloman, 909 F.2d 176, 181 (6th Cir. 1990);

 Jones v. City of New York, No. 98 Civ. 6493 (LBS), 2002 WL 207008, at *2 (S.D.N.Y.

 Feb. 11, 2002).

                 If the later of the date of conviction or the date of the defendant’s release from

 confinement for that conviction is more than ten years old, then, pursuant to Rule 609(b),

 evidence of the conviction is admissible only if “its probative value, supported by specific

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 facts and circumstances, substantially outweighs its prejudicial effect” and the party seeking

 to offer it gives the opposing party reasonable written notice of its intent to use the evidence.

 Courts apply the same balancing test as that prescribed by Rule 609(a), but the heightened

 standard of Rule 609(b) requires that the evidence have more probative value than that

 required under Rule 609(a). See Brown, 606 F. Supp. 2d at 313. In addition, under Rule

 609(b), a court must “make an on-the-record finding based on specific facts and

 circumstances that the probative value of the evidence substantially outweighs the danger of

 unfair prejudice.” Jones v. N.Y. City Health & Hosps. Corp., 102 F. App’x 223, 226 (2d Cir.

 2004) (summary order); see also United States v. Payton, 159 F.3d 49, 57-58 (2d Cir. 1998)

 (upholding district court’s decision to admit defense witness’s 13-year-old convictions where

 court specifically found that witness’s “credibility was ‘crucial’ because she would be

 testifying in direct contradiction to the government=s witnesses on the key element of

 possession of the .38 caliber revolver; the impeachment value of her convictions was

 substantial; and the government provided defendant with sufficient advance notice of its

 intent to use these convictions in her cross-examination”).

        B.      Analysis

                Should a defendant testify, the government expects he will generally deny the

 charge, or charges, against him, namely his involvement in the charged enterprise and the

 shootings. If so, such testimony would directly contradict the testimony of government

 witnesses as well as other evidence. This would squarely place before the jury the issue of

 the testifying defendant’s credibility versus that of government witnesses and evidence,

 thereby increasing the need to impeach the defendant using prior convictions. Indeed, a

 defendant places his credibility directly at issue whenever he testifies and denies having

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 committed the charged offense. See United States v. Alexander, 48 F.3d 1477 (9th Cir.

 1995). Thus, regardless of the substance of the defendant’s testimony, once he places his

 version of the events before the jury, his credibility becomes central to the jury’s

 determination of the case. To permit the defendant to take the stand and appear “pristine”

 would be “unfair and misleading to the jury.” United States v. Ortiz, 553 F.2d 782, 785 (2d

 Cir. 1977).

               Here, the government should be permitted to introduce evidence of the

 convictions described above during cross-examination should one of these defendants testify

 at trial. The government addresses each defendant’s prior convictions in turn.

               1.      Bailey

               Bailey has three prior felony convictions that the government would seek to

 introduce at trial should Bailey take the stand in his own defense, as these convictions

 inherently exhibit a willingness to break the rules and to operate in a furtive and evasive

 manner. With respect to all three felonies, “Rule 609(a)(1) presumes that all felonies are at

 least somewhat probative of a witness’s propensity to testify truthfully.” Estrada, 430 F.3d at

 617. Further, the convictions involve dishonest and deceptive behavior that bears strongly

 on credibility — bail jumping, possession of a forged instrument and assuming another’s

 identity. See Payton, 159 F.3d at 57 (finding defendant’s acquisition of food stamps by

 deceit as conduct that arises out of the making of a false statement, falling within the

 categories of crimes contemplated by Rule 609(a)(2)).

                All five factors weigh in favor of permitting inquiry on each of these three

 convictions. With respect to the first factor, the impeachment value of the prior crime, “Rule

 609(a)(1) presumes that all felonies are at least somewhat probative of a witness’s propensity
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 to testify truthfully.” Estrada, 430 F.3d at 617. Moreover, “as the Second Circuit has

 recognized, ‘the gravity of an offense may bear on truthfulness, to the extent that more

 serious offenses indicate a stronger willingness to ignore the law.’” United States v. White,

 No. 08-CR-682 (NGG), 2009 WL 4730234, at *4 (E.D.N.Y. Dec. 4, 2009) (quoting Estrada,

 430 F.3d at 618). Here, Bailey’s conviction for bail jumping “suggests [the defendant’s]

 willingness to ignore the law.” Id. And Bailey’s convictions for forgery and identity theft

 involve the kinds of deception that are the hallmark of allowable impeachment material. In

 short, each conviction indicates Bailey’s fundamental refusal to abide by the rules.

                The second factor, the date of the convictions and the defendant’s subsequent

 history, also ultimately weighs in favor of admission. Bailey’s convictions for bail jumping

 and forgery occurred close in time to the conduct charged here. See Fed. R. Evid. 609(b).

 Although the 2011 felony conviction for identity theft is more than ten years’ old, Bailey’s

 subsequent felony convictions for forgery and bail jumping demonstrate repeated acts

 involving deceit and dishonesty, all of which bear heavily on his credibility. See Alexander,

 48 F.3d at 1489 (finding it “not surprising that the [district] court was unwilling to let a man

 with a substantial criminal history misrepresent himself to the jury, with the government

 forced to sit silently by, looking at a criminal record which, if made known, would give the

 jury a more comprehensive view of the trustworthiness of the defendant as a witness”); see

 also United States v. Dismuke, No. 07-CR-81, 2007 WL 3342548, at *2 (E.D. Wis. Nov. 7,

 2007) (“Although the 1998 conviction was nearly ten years old, defendant’s subsequent

 history, which included the three additional felony convictions, supported admission.”).

 Indeed, the defendant was serving his sentence for the 2011 conviction — five years’

 probation — when he was arrested for the crimes to which he pleaded guilty in 2015,
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 indicating that the defendant did not commit himself to becoming a law-abiding citizen

 following the first felony conviction.

                The third factor, dissimilarity to the current crime, also tends towards

 admission here because Bailey’s crimes are significantly unlike the racketeering and

 firearms-related offenses charged here, leaving little risk of suggesting propensity.

                The fourth and fifth factors — the importance of Bailey’s testimony and the

 centrality of the credibility issue — also weigh in favor of the government. Should the

 defendant testify and disclaim his participation in the charged offense, then his credibility

 versus that of the government witnesses will be central to the jury’s determination. This

 weighs strongly in favor of permitting inquiry into the crimes set forth above, which

 constitute only some of the defendant’s criminal convictions. See, e.g., Ortiz, 553 F.2d at

 785 (holding that where the case is “narrowed to the credibility of two persons the accused

 and his accuser . . . there is greater, not less, compelling reason for exploring all avenues

 which would shed light on which of the two witnesses is to be believed” (internal quotation

 marks omitted)). As the Second Circuit has explained, a defendant “has no right to avoid

 cross examination into the truth of his direct examination, even as to matters not related to

 the merits of the charges against him.” Payton, 159 F.3d at 58.

                2.     Battice

                Battice has five prior felony convictions and two prior misdemeanor

 convictions, and the government should be permitted to cross-examine him on all seven.

 First, four of Battice’s felony convictions took place from 2015 and 2018, and his two

 misdemeanor convictions took place in 2016. These convictions should be admitted if

 Battice were to testify at trial because each is less than ten years’ old and evinces deceitful
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 conduct — namely, counterfeiting United States currency, making false statements, access

 device fraud, furnishing false identification information, grand larceny and eluding police.

 Like Bailey’s convictions, these convictions are for sufficiently dissimilar conduct to the

 crimes charged here and the government expects that any testimony Battice may offer in his

 defense would directly pit his credibility against that of government witnesses and evidence.

               As for Battice’s seventh conviction — his 2008 felony robbery conviction

 involving a firearm — Rule 609(b) applies because it is more than ten years’ old. The

 defendant’s prior robbery clearly satisfies requirements of Rule 609(b). First, with respect to

 its impeachment value, courts in this Circuit routinely permit cross-examination concerning a

 defendant’s previous participation in a robbery under Rule 609(a)(1)(B), on the ground that

 such an act bears on a defendant’s credibility. See, e.g., United States v. Steele, 216 F. Supp.

 3d 317 (S.D.N.Y. 2016); Crenshaw v. Herbert, 409 F. App’x 428, 431-32 (2d Cir. 2011)

 (“Evidence of Crenshaw’s prior robbery was probative of his veracity . . . the district court

 did not abuse its discretion in determining that the probative value of Crenshaw’s prior

 robbery conviction was not substantially outweighed by the danger of unfair prejudice.”).

 Indeed, “[r]obberies by their very nature involve dishonesty and thus have an impact on the

 integrity and credibility of a witness. United States v. Stevens, No. 03-CR669 (JFK), 2004

 WL 2002978, at *3 (S.D.N.Y. Sept. 7, 2004) (“The probative value of admitting any robbery

 conviction, or attempted robbery conviction ‘outweighs its prejudicial effect to the

 accused.’”). If Battice chooses to testify, the fact that he has previously been convicted of a

 robbery, which also involved displaying a firearm, would be relevant to the jury’s

 determination of the defendant’s character for truthfulness. Or, if Battice claims he was

 merely someone in the wrong place at the wrong time, the fact that Battice has previously
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 been convicted of a crime dishonesty, trickery and deceit, would be relevant to the jury’s

 consideration as to crediting his testimony.

               Although the prior robbery occurred more than fifteen years ago, that

 conviction was soon followed by the defendant’s 2015 convictions and imprisonment for

 attempted grand larceny and eluding police, which were soon followed by his misdemeanor

 convictions for access device fraud and furnishing false information, which were soon

 followed by Battice’s felony convictions and imprisonment for counterfeiting U.S. currency

 and making false statements. Thus, the defendant has largely been in and out of prison since

 the robbery, and so the passage of time does not accurately reflect a change in the

 defendant’s behavior or indicate that he has conformed to a more law-abiding life. His

 numerous subsequent convictions in fact indicate the opposite.

               The third factor also weighs in favor of admission because, while the robbery

 conviction and the instant charges both involve a firearm, the instant charges relate to

 racketeering-related shootings and not to robbery.

               For the reasons already discussed in connection with Battice’s other

 convictions, as well as Bailey’s convictions, the fourth and fifth factors — the importance of

 Battice’s testimony and the centrality of his credibility — also weigh in favor of the

 government.

               3.      Brown

               Brown has three prior felony convictions and one prior misdemeanor

 conviction, and the government should be permitted to cross-examine him on all four. These

 convictions should be admitted if Brown were to testify at trial because each is less than ten

 years’ old and evinces deceitful conduct — issuing bad checks, larceny, racketeering
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 conspiracy involving bank fraud and possession of a forged instrument. In addition, each

 conviction is for sufficiently dissimilar conduct to the crimes charged here. Whereas

 Brown’s prior racketeering conviction may appear similar to the charges brought in this case,

 his prior conviction involves bank fraud and this case does not. Any potential prejudice that

 nevertheless may be presented by introducing this conviction may be addressed by a limiting

 instruction to the jury explaining the limited purpose for which the government offers the

 prior racketeering conviction. Finally, the government expects that any testimony Brown

 may offer in his defense would directly pit his credibility against that of government

 witnesses and evidence. In light of these reasons, the Court should admit these convictions

 as probative of Brown’s credibility on cross-examination.

                4.     Fremont

                Fremont has two prior felony convictions and one prior misdemeanor

 conviction, and the government should be permitted to cross-examine him on each. These

 convictions should be admitted if Fremont were to testify at trial because each is less than ten

 years’ old and evinces deceitful conduct. For instance, should Fremont take the stand and

 disclaim any involvement with guns, his prior felony and misdemeanor firearms convictions

 would bear strongly on his credibility. Moreover, these crimes, as well as the defendant’s

 felony conspiracy convictions, are all serious crimes which further counsels in favor of

 inquiry. See White, 2009 WL 4730234, at *4 (“[A]s the Second Circuit has recognized, ‘the

 gravity of an offense may bear on truthfulness, to the extent that more serious offenses

 indicate a stronger willingness to ignore the law.’” (quoting Estrada, 430 F.3d at 618)).

 Although this case, like Fremont’s prior convictions, involves guns, that fact alone does not

 render his prior convictions too similar to the instant case such that there is a risk of unfair
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 prejudice. See, e.g., White, 2009 WL 4730234, at *4 (admitting, in a felon in possession of a

 firearm case, the name of the offense, the date, and the sentence of previous robbery

 conviction for impeachment purposes); see also United States v. Thomas, 214 F. Supp. 3d

 187, 196 (E.D.N.Y.) (same). In fact, the instant offense with which the defendant is charged

 is far more serious than his prior felony convictions, further reducing any chance of

 unwarranted prejudice. Cf. United States v. Roldan-Zapata, 916 F.2d 795, 804 (2d Cir.

 1990) (holding that evidence introduced pursuant to Fed. R. Evid. 404(b) is not unfairly

 prejudicial when it “[does] not involve conduct any more sensational or disturbing than the

 crimes with which [the defendant is] charged”). Finally, the government expects that any

 testimony Fremont may offer in his defense would directly pit his credibility against that of

 government witnesses and evidence. In light of these reasons, the Court should admit these

 convictions as probative of Fremont’s credibility on cross-examination.

               For these reasons, the proposed cross-examination based on prior convictions

 should be permitted.

 V.     Anonymous Jury

               For the reasons set forth below, the Court should empanel an anonymous jury

 and not allow disclosure to any of the parties of the names, precise addresses and workplaces

 of members of both the venire and the selected jury.

        A.     Applicable Law

               The Second Circuit has repeatedly upheld the use of anonymous juries where

 there is reason to believe that the jury needs protection, and reasonable precautions have

 been taken to minimize any adverse effects on the juror’s opinion of the defendant. See, e.g.,

 United States v. Kadir, 718 F.3d 115, 120-21 (2d Cir. 2013); United States v. Pica, 692 F.3d

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 79, 81 (2d Cir. 2012); United States v. Quinones, 511 F.3d 289, 291 (2d Cir. 2007); United

 States v. Gotti, 459 F.3d 296, 345 (2d Cir. 2006); United States v. Aulicino, 44 F.3d 1102,

 1116 (2d Cir. 1995); United States v. Wong, 40 F.3d 1347, 1376-77 (2d Cir. 1994); United

 States v. Thai, 29 F.3d 785, 800-01 (2d Cir. 1994); United States v. Amuso, 21 F.3d 1251,

 1264-65 (2d Cir. 1994); United States v. Locascio, 6 F.3d 924, 946-47 (2d Cir. 1993); United

 States v. Paccione, 949 F.2d 1183, 1192 (2d Cir. 1991); United States v. Vario, 943 F.2d

 236, 239 (2d Cir. 1991); United States v. Tutino, 883 F.2d 1125, 1132 (2d Cir. 1989); United

 States v. Persico, 832 F.2d 705, 717 (2d Cir. 1987); United States v. Thomas, 757 F.2d 1359,

 1364-65 (2d Cir. 1985); United States v. Barnes, 604 F.2d 121, 133-43 (2d Cir. 1979).

                The Second Circuit has adopted a two-step process for district courts to follow

 in connection with empaneling an anonymous jury. A district court should first determine

 whether there is strong reason to believe that the jury needs protection. If there is, the court

 should then take reasonable precautions to minimize any prejudice that might arise from an

 anonymous jury. See Paccione, 949 F.2d at 1192. Importantly, “the use of an anonymous

 jury does not infringe a defendant’s constitutional rights, so long as the court conducts a voir

 dire designed to uncover any bias as to the issues or the defendant[] and takes care to give the

 jurors a plausible and nonprejudicial reason for not disclosing their identities.” Aulicino, 44

 F.3d at 1116. Thus, “the decision whether or not to empanel an anonymous jury is left to the

 district court’s discretion.” Paccione, 949 F.2d at 1192.

                Courts in this circuit have considered various factors to determine whether

 there is reason to believe the jury’s safety and impartiality needs protection: (1) the

 dangerousness of the defendant, (2) whether the defendant or his associates have engaged in

 past attempts to interfere with the judicial process, (3) whether the defendant has access to
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 the means to harm the jury, and (4) whether the trial is likely to attract media attention and

 publicity. See United States v. Wilson, 493 F. Supp. 2d 397, 398 (E.D.N.Y. 2006) (citing

 Paccione, 949 F.2d at 1192; Vario, 943 F.2d at 240; Tutino, 883 F.2d at 1132-33 (2d Cir.

 1989)). Notably, all of these factors need not be present; “anonymity is appropriate when

 some combination of these factors is present.” United States v. Ashburn, 13-CR-303 (NGG),

 2014 WL 5800280, at *3 (E.D.N.Y. Nov. 7, 2014).

                Two procedures adequately protect a defendant’s right to an unbiased jury

 during the use of an anonymous jury. First, the court should “conduct a voir dire designed to

 uncover bias as to issues in the case[ ] and as to the defendant himself.” Paccione, 949 F.2d

 at 1192. Second, to reduce the possibility that the jury will infer that the defendant is

 dangerous, the court should give the jurors “a plausible and nonprejudicial reason for not

 disclosing their identities or for taking other security measures.” Paccione, 949 F.2d at 1192;

 see also Aulicino, 44 F.3d at 1116. In many cases, courts instruct the jury that the additional

 safeguards are to protect against intrusion by the media. See, e.g., Thai, 29 F.3d at 801;

 Paccione, 949 F.2d at 1191-92; Thomas, 757 F.2d at 1363.

        B.      Analysis

                Applying the standards and considering the factors set forth above, it is clear

 the interests of justice would best be served in this case by protecting the identities of the

 jurors. Most importantly, the defendants are dangerous and, based on the evidence to be

 presented at trial, they are likely to be perceived by the jurors as dangerous.

                As set forth above, the trial evidence will depict a pattern of violence by the

 defendants and fellow members of GD. All but one of the charges in this case are crimes of

 violence. Specifically, each of the defendants is charged in specific predicate acts involving

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 attempted murder or assault in-aid-of racketeering, namely, engaging in shootings targeting

 other individuals. Indeed, most of the defendants are charged in connection with four

 shootings in which the defendants opened fire in crowded areas of Brooklyn, New York,

 usually in broad daylight, without regard for the grave risk posed to innocent bystanders.

                These acts of violence charged against the defendants are exactly the type of

 senseless violence that “would cause a juror to reasonably fear for his own safety.” Vario,

 943 F.2d at 241. In Barnes, the Second Circuit explained one of the important reasons for

 empanelling anonymous juries in cases like this:

                If a juror feels that he and his family may be subjected to violence
                or death at the hands of a defendant or his friends, how can his
                judgment be as free and impartial as the Constitution requires? If
                the anonymous juror feels less pressure as a result of anonymity,
                . . . this is as it should be — a factor contributing to his
                impartiality.

 604 F.2d at 140-41 (affirming district court’s use of an anonymous, sequestered jury because

 it “comported with its obligation to protect the jury, to assure its privacy, and to avoid all

 possible mental blocks against impartiality”).

                Similarly, in Thomas, the Second Circuit found that the protection of jurors is

 vital to the function of the criminal justice system and further articulated the importance of

 using jury anonymity as a mechanism to ensure a jury’s fair and impartial verdict free from

 fear or intimidation:

                As a practical matter, we cannot expect jurors to “take their
                chances” on what might happen to them as a result of a guilty
                verdict. Obviously, explicit threats to jurors or their families or
                even a general fear of retaliation could well affect the jury’s
                ability to render a fair and impartial verdict.

 757 F.2d at 1364.

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                In this case, the jurors will be confronted with evidence that the defendants

 demonstrated callousness and brutality in participating in the charged crimes. If the

 defendants had so little regard for human life as to fire a gun into groups of people, the jurors

 (if their identities are disclosed) will be left to wonder what the defendants and their criminal

 associates would be willing to do to retaliate against them for their conviction and lengthy

 imprisonment. See Barnes, 604 F.2d at 141 (allegations of “dangerous and unscrupulous

 conduct” and pretrial publicity supported withholding the names and addresses of jurors); see

 also Thomas, 757 F.2d at 1364 (history of violence — including “mob-style” killings —

 related directly to the issue of juror safety or fear of reprisal). Thus, the serious nature of the

 charges and the “pattern of violence by the defendants and [their] associates such as would

 cause a juror to reasonably fear for his own safety” is alone sufficient to warrant an

 anonymous jury in this case. Vario, 943 F.2d at 241.

                In addition, the defendants are members of the NLC set of Folk Nation, an

 ongoing criminal enterprise. Although the defendants are under pretrial detention, their

 criminal associates “are currently, and will be, at large at the time of the trial.” Wilson, 493

 F. Supp. 2d at 400. Finally, based on the nature of the charges, the upcoming trial is likely to

 attract significant media attention.

                For all of these reasons, an anonymous jury is warranted in this case.

        C.      An Anonymous Jury Will Not Prejudice the Defendants

                In this case, the government requests only that the names, precise addresses

 and workplaces of members of both the venire and the final jury not be revealed. This will

 not burden the defendants’ ability to make informed choices during jury selection because —

 apart from referring to jurors by their numbers (instead of their names) and limiting questions
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 about their residence and employment to avoid identification of specific addresses and

 locations — the voir dire can proceed as it would in a typical case.

                Although a defendant has the right to a meaningful voir dire of potential

 jurors, see Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981), the decision as to the

 questions to be asked in voir dire largely rests within the informed discretion of the trial

 court. See United States v. Silva, 715 F.2d 43, 50 (2d Cir. 1983) (absent a clear abuse of

 discretion, trial court’s ruling on questions to be asked will not be disturbed), overruled on

 other grounds by United States v. FNU LNU, 653 F.3d 144, 151 (2d Cir. 2011); Barnes, 604

 F.2d at 140 (“As long as a defendant’s substantial rights are protected by a voir dire designed

 to uncover bias as to issues in the cases and as to the defendant himself, then reasonable

 limitations on the questioning should not be disturbed on appeal.”). Indeed, “[t]he jury

 selection process (voir dire) is not a matter of constitutional dimension and the selection of

 an anonymous jury was implicitly held to be constitutional in Barnes.” United States v.

 Gotti, 777 F. Supp. 224, 227 (E.D.N.Y. 1991).

                The information that will be kept from the parties and counsel if this motion is

 granted is not meaningful to the jury selection process. Names, exact addresses and places of

 employment of the prospective jurors are not necessary to making an informed choice.

 Information regarding the neighborhoods in which the prospective jurors live and the nature

 of their work is sufficient. The names of prospective jurors, to the extent they provide

 information about ethnicity, are not relevant to meaningful voir dire. See Georgia v.

 McCollum, 505 U.S. 42, 55 (1992) (prohibiting use of peremptory challenges in racially

 discriminatory manner by criminal defendants).



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                Moreover, empaneling an anonymous jury will not diminish the defendants’

 presumption of innocence because jurors can receive an instruction from the Court

 explaining the measures imposed in a neutral way in order to prevent the jury from drawing

 any negative inference. Most commonly, courts have explained to jurors that their privacy

 and their identities require protection from the media and the public. See, e.g., Thai, 29 F.3d

 at 801; Amuso, 21 F.3d at 1265; Tutino, 883 F.2d at 1133. In some cases, the district court

 has explained the jury’s partial anonymity by telling prospective jurors that anonymity would

 allow them to feel more comfortable in giving candid answers to the personal questions

 asked in voir dire.

                Accordingly, the government respectfully submits that the Court should

 empanel an anonymous jury and not allow disclosure of the names, precise addresses and

 workplaces of members of both the venire and the jury.

 VI.    Business and Official Records Certifications

                Finally, the government moves in limine to admit records from AT&T, T-

 Mobile, Sprint, Verizon, Facebook, Inc. and Apple, Inc. by business records certifications.

 The government has previously provided notice to the defendants of the specific records

 intended for use at trial, as well as copies of the relevant certifications, and it will provide

 any additional certifications upon receipt from the relevant entity.

                As discussed above, the defendants and their co-conspirators all used their

 cellular telephones to communicate in the time period leading up to, during and after the

 November 7 and 9, 2020 shootings. Accordingly, the government intends to introduce at

 trial the subscriber information, toll records, cell-site data and IMEI associated with those

 cellular telephones. See, e.g., GD-PHONE RECORDS-SENSITIVE-000015, 16, 25, 26, 29,

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 31, 32, 43, 48, 49, 52, 53, 55, 57, 61, 62, 63,65, 66, 67, 76, 77, 78, 79, 89, 90, 91, 96, 97, 98,

 99. The subscriber records from Apple Inc. and Facebook, Inc. are also relevant to prove

 the defendants’ identity and phone numbers, and material found stored in Apple and

 Facebook records include photographs of the defendants together, photographs or videos of

 defendants wearing clothes from the shootings, and communications among the defendants.

 See, e.g., GD-SOCIAL MEDIA-SENSITIVE-000001, 2, 15-19, 74, 86-89, 95, 96, 101, 124,

 157, 158, 159.

                  The government also intends to offer excerpts of DMV records for Agoro,

 Destine, Hepburn, Lima, Moise, and Thompson, which include, but are not limited to

 including photographs, prior applications including addresses and phone numbers

 information, and prior address records. See, e.g., GD-VEHICLES-SENSITIVE-000083-

 306, 365-394. The government expects that these records will be relevant to prove co-

 conspirators’ identities, telephone numbers, and home addresses (which are, in turn, relevant

 to prove the defendants’ use of certain telephone numbers when combined with subscriber

 information for those phone numbers and IMEI). All of these records are public records that

 bear both a DMV seal and signature of the Commissioner of Motor Vehicles certifying that

 the records are true and complete copies of records on file with the DMV.

                  The Supreme Court has held that admitting business records that have been

 authenticated by affidavit or certificate does not violate a defendant’s right to confrontation.

 See Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009). The Court has explained that

 “[b]usiness and public records are generally admissible absent confrontation . . . because —

 having been created for the administration of an entity’s affairs and not for the purpose of

 establishing or proving some fact at trial — they are not testimonial.” Id. at 324.
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                 Relying on Melendez-Diaz, the Second Circuit and at least five other circuits

 have concluded that certifications authenticating records are not testimonial and therefore are

 permissible. See, e.g., United States v. Qualls, 613 F. App’x 25, 28 (2d Cir. 2015); United

 States v. Johnson, 688 F.3d 494, 504-05 (8th Cir. 2012); United States v. Yeley-Davis, 632

 F.3d 673, 680-81 (10th Cir. 2011); United States v. Morgan, 505 F.3d 332, 339 (5th Cir.

 2007); United States v. Ellis, 460 F.3d 920 (7th Cir. 2006); United States v. Weiland, 420

 F.3d 1062, 1077 (9th Cir. 2005). As the Seventh Circuit explained in Ellis, an authenticating

 certification under Rule 902(11) is “nothing more than the custodian of records . . . attesting

 that the submitted documents are actually records kept in the ordinary course of business”

 and “merely establish the existence of the procedures necessary to create a business record.”

 460 F.3d at 927. It is the underlying records, not the certification, that are introduced to

 establish the facts at trial.

                 Consistent with this understanding of the confrontation right, federal law

 permits the authentication of business records by certification and sets forth specific

 requirements for their admission. Federal Rule of Evidence 902(11) expressly permits the

 authentication of domestic business records by certification. Similarly, Title 18, United

 States Code, Section 3505 expressly permits the authentication of foreign business records

 by certification. And courts in the Second Circuit have routinely applied these provisions to

 admit certified business records at trial. See, e.g., United States v. Komasa, 767 F.3d 151 (2d

 Cir. 2014); Qualls, 613 F. App’x at 28 (affirming district court decision to allow government

 to offer into evidence foreign business records based upon a certification, absent a live

 witness to authenticate the documents).



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               The government should be permitted to authenticate and admit the AT&T, T-

 Mobile, Sprint, Verizon, Apple, Inc., Facebook, Inc., and DMV records and other business

 records using certifications because it is proper under the law. In addition, such a process

 would eliminate unnecessary persons from the courtroom, shorten the amount of time that

 jurors will need to sit for trial, and ensure that witnesses who may reside outside New York

 need not travel to New York to appear at trial which is an efficiency that is particularly

 important in light of ongoing concerns about COVID-19. Accordingly, the government

 seeks a pretrial ruling that these records may properly be authenticated as self-authenticating

 public records. See Fed. R. Evid. 902(1).




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                                       CONCLUSION

                For the reasons set forth above, the government’s motions in limine should be

 granted.

 Dated:      Brooklyn, New York
             September 9, 2022

                                                   Respectfully submitted,

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